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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


DAMIEN DRENNAN,

                       Plaintiff,

v.                                                              Case No: 6:19-cv-955-Orl-41DCI

RH FUNDING CO. and TOM
MARINARO,

                       Defendants.
                                              /

                                              ORDER

       THIS CAUSE is before the Court on the parties’ Joint Motion for Approval of Settlement

(“Motion,” Doc. 24), wherein the parties seek approval from the Court of a Settlement Agreement

(Doc. 24-1) governing the Fair Labor Standards Act (“FLSA”) claims that form the basis of this

case. United States Magistrate Judge Daniel C. Irick issued a Report and Recommendation

(“R&R,” Doc. 25), finding that “the settlement is a fair and reasonable resolution of Plaintiff’s

FLSA claim,” (id. at 3), and the amount of attorney’s fees and costs to be paid to Plaintiff’s counsel

to be reasonable and negotiated separately, without regard to the amount paid to Plaintiff for the

FLSA claims, (id. at 4). Judge Irick therefore recommends that the Motion be granted, the

Settlement Agreement be approved, and the case be dismissed with prejudice. Plaintiff filed a

Notice of Non-Objection (Doc. 26). Defendants did not file any objections, and the time to do so

has passed.

       After a de novo review of the record, this Court agrees entirely with the analysis in the

R&R. Therefore, it is ORDERED and ADJUDGED as follows:




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           1. The Report and Recommendation (Doc. 25) is ADOPTED and CONFIRMED and

              made a part of this Order.

           2. The Joint Motion for Approval of Settlement (Doc. 24) is GRANTED.

           3. This case is DISMISSED with prejudice.

           4. The Clerk is directed to close this case.

       DONE and ORDERED in Orlando, Florida on December 19, 2019.




Copies furnished to:

Counsel of Record




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